Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 1 of 8 PageID #: 577
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 2 of 8 PageID #: 578
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 3 of 8 PageID #: 579
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 4 of 8 PageID #: 580
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 5 of 8 PageID #: 581
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 6 of 8 PageID #: 582
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 7 of 8 PageID #: 583
Case: 4:13-cv-01073-JAR Doc. #: 90 Filed: 01/03/14 Page: 8 of 8 PageID #: 584
